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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

NETWORK-1 SECURITY SOLUTIONS                      §
INC.                                              §
                   Plaintiff                      §
v.                                                § Civil Action No.: 6:05-cv-00291-LED
                                                  § (Jury)
D-LINK CORPORATION AND D-LINK                     §
SYSTEMS, INC.                                     §
                   Defendants                     §


                   AGREED MOTION TO DISMISS WITH PREJUDICE

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a separate

Settlement Agreement, the Plaintiff, Network-1 Security Solutions Inc. (“Network-1”), and

Defendants, D-Link Corporation and D-Link Systems, Inc. (“D-Link Parties”), have agreed to

settle and compromise all claims and counterclaims in the above-captioned action. The parties,

therefore, move this Court to dismiss the above-entitled cause and all claims by Network-1

against D-Link Parties and all counterclaims by D-Link Parties against Network-1 asserted

therein with prejudice; provided, however, that D-Link Parties expressly reserve the right in any

future litigation regarding U.S. Patent No. 6,218,930, in which the D-Link Parties are defendants

or have been joined as a party (in either case, other than through D-Link Parties’ own voluntary

actions to become such parties), to assert any non-infringement and/or invalidity counterclaims

and/or any other counterclaims or defenses related to such action.

       The parties further move the Court to order that all costs and expenses relating to this

litigation shall be borne by the party incurring same, and that all rights of appeal are waived.

       A proposed Order accompanies this motion.
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AGREED:



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